Case 5:22-cv-00094-JWH-SHK Document 45-2 Filed 01/25/22 Page 1 of 6 Page ID #:436




                                                                                          u.s        partment of Justice

                                                                                          Federal Bureau ofInvestigation


                                                                                          Washington. DC    20535




 EMPYREAL ENTERPRISES LLC
 c/o David Bass
 1478 Stonepoint Dr.
 Ste.435
 Roseville, CA 95661


                  NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                      ADMINISTRATIVE FORFEITURE PROCEEDINGS
                               SEIZED PROPERTY IDENTIFYING INFORMATION
             Notice Date:    January 11, 2022                  IAsset   ID Number:     22-FBI-000784

             Notice Letter ID:    328026 (use 10 when searching for assets during online filing)

             Description of Seized Property: $712,176.36 U.S. Currency located in the 2019 Ford Transit Van,
             VIN:1FTYE1YMOKKB80217 registered to EMPYREAL ENTERPRISES LLC and in possession of Oayler
             Quinones Navarro

             Seizure Date and Location:       The asset(s) referenced In this notice letter were seized on November 16, 2021
             by the FBI at Barstow. California.

             Forfeiture Authority:    The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
             following additional federal laws: 19 U.S.C. §§ 1602-1619. 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.

 I.   THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
      OR PART OF THE PROPERTY FROM THE FORFEITURE.

      TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

      A.   What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
           file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
      B.   To File a Petition:    A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
           Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
           FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this Notice.
           See 28 C.F.R. Parts 8 and 9.
      C.   Requirements for Petition:    The petition !T1ustinclude a description of your interest in the property supported by
           documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
           of pe~ury or meet the requirements of an unsworn statement under penalty of pe~ury. See 28 U.S.C. § 1746.

      D. Petition Forms: A petition need not be made in any particular fonn but a standard petition fonn and the link to file the
         petition online are available at https:flwww.forfeiture.gov/FiIlngPetition.htm.    If you wish to file a petition online for the assets
         referenced in the asset list of this letter, please use the Notice Letter 10 referenced above.
      E. Supporting Evidence:      Although not required, you may submit supporting evidence (for example, title paperwork or bank
         records showing your interest in the seized property) to substantiate your petition.
      F. No Attorney Required:      You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
         in filing a petition.
      G. Petition Granting Authority:     The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
          Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
          Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.




                                                                                                                                    Exhibit 1
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 EMPYREAL ENTERPRISES         LLC                                  Notice of Seizure


      H.    Regulations   for Petition:   The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, arId are
            available at www.forfeiture.gov.
      I.    Penalties for Filing False or Frivolous Petitions: A petition containing false information may 'ubject the petitioner to
            criminal prosecution under 18 U.S.C. § 1001 and 18 U.S.C. § 1621.
      J.    Online Petition Exclusions:       If you cannot find the desired assets online, you must file your petition in writing at the
            address listed above. For more details regarding what assets can be petitioned online, please s~ the Frequently Asked
            Questions at https:/Iwww.forfeiture.gov/FilingPetitionFAQs.htm.

 II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
      If you do not file a claim, you will waive your right to contest the forfeiture of the asset. Additionally. If no otIler claims are fiied, you may
      not be able to contest the forfeiture of this asset in any other proceeding, criminal or civil.

      A.    To File a Claim: A claim must be flied to contest the forfeiture. A claim should be filed online C)f' by ml:liling it via the U.S.
            Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 'Wilshire Blvd. Suite
            1700, FOB, Los Angeles, CA 90024.
      B.     Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must fie your claim by 11:59 PM
             EST on February 15, 2022. See 18 U.S.C. § 983(a)(2). A claim is deemed filed on the date received Dy the agency atth.3
             address listed above.
      C.     Requirements for Claim: A claim must be filed online or in writing, describe the seized prope~, state your ownership ()r
             other interest in the property and be made under oath, subject to penalty of perjury or meet the requirelfnents of an unswor1l
             statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C. § 1746.
      O.     Claim Forms: A claim need net be made in any particular form, but a standard claim form and he link to file the claim online
             are available at https:/Iwww.forfeiture.gov/FilingClaim.htm.      See 18 U.S.C. § 983(a)(2)(0).    If YClJ wish to file a claim online
             for the assets referenced in \he asset list of this letter, pleese use the Notice Letter 10 referenced above.


      E.     Supporting Evidence:     Although not required, you may submit supporting evidence (for exam~e. title paperwork or bank
             records shOWing your interest in the seized property) to substantiate your claim.
      F.     No Attorney Required:       You do not need an attorney to file a claim. You may, however, hire a, attorney to represent you in
             filing a claim.
      G.     When You File a Claim: A timely claim stops the administrative forfeiture proceeding. The sezing anency forwards the
             timely claim to the U.S. Attomey's Office for further proceedings.    You may also file a petition fOl remisBlon or mitigation.

      H.     Penalties for Filing False or Frivolous Claims:      If you intentionally file a frivolous claim you "ay be :subject to a civil fine.
             See 18 U.S.C. § 983(h). If you intentionally file a claim containing false information, you may ~ subje1ct to criminal
             prosecution. See 18 U.S.C. § 1001.
      I.     If No Claim is Filed: Failure to file a claim by 11:59 PM EST on February 15,2022 may resullin the property being
             forfeited to the United States.
      J.     Online Claim Exclusions:        If you cannot find the desired assets online, you must file your clai.., in wri ling and send to the
             address listed above. For more detaNS regardmg what a~!Bt~ can be claimed online, please s~ the F:requently Asked
             Questions at https:/Iwww.forfeiture.gov/FilingClaimFAQs.htm.

 m.   TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
      A.    Hardship Release: Upon the filing of a proper claim, a claimant may request release of the se~ed property during the
            pendency of the forfeiture proceeding due to hardship if the claimant is able to meet speCific coMiticlns.    See 18 U.S.C. §
            983(f); 28 C.ER. § 8.15.
      B.    To File Hardship Release:       The hardship request cannot be filed online and must be in writing. Tlhe claimant must
            establish the following:
               .Claimant has a possessory interest in the property;
               • Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
                    and
               • Government's continued possession will cause a substantial hardship to the claimant.
       C.   Regulations for Hardship:    A complete list of the hardship provisions can be reviewed at 18 U.S.C. § 983(f) and 28 C.ER. §
            8.15. Some assets ere Inot eligible for release.




                                                                                                                                           Exhibit 1
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                                                                                          u.s.       partment of Justice

                                                                                          Federal Bureau of Investigation


                                                                                          Washington, DC 20535



 E~YREALENTERPruSESLLC
 A1TN: Michael Jerome
 2840 N. Commerce Ct.
 Las Vegas, NV 80121


                  NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                      ADMINISTRATIVE FORFEITURE PROCEEDINGS
                               SEIZED PROPERTY IDENTIFYING INFORMATION
             Notice Date:    January 11, 2022                  IAsset   10 Number:     22-FBI-000784

             Notice Letter 10:    328027 (use 10 when searching for assets during online filing)

             Description of Seized Property: $712,176.36 U.S. Currency located in the 2019 Ford Transit Van,
             VIN:1FTYE1YMOKKB80217 registered to EMPYREAL ENTERPRISES llC and in possession of Dayler
             Quinones Navarro

             Seizure Date and Location:       The asset(s) referenced in this notice letter were seized on November 16, 2021
             by the FBI at Barstow, California.

             Forfeiture Authority:    The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
             following additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.F.R. Parts 8 and 9.

 I.   THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
      OR PART OF THE PROPERTY FROM THE FORFEITURE.

      TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

      A.   What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition). If you
           file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
      B.   To File a Petition:    A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
           Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
           FOB, los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this Notice.
           See 28 C.F.R. Parts 8 and 9.
      C.   Requirements for Petition:    The petition must include a deSCription of your interest in the property supported by
           documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
           of pe~ury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

      D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file the
         petition online are available at https:llwww.forfeiture.gov/FilingPetition.htm.    If you wish to file a petition online for the assets
         referenced in the asset list of this letter, please use the Notice letter 10 referenced above.
      E. Supporting Evidence:      Although not required, you may submit supporting evidence (for example, title paperwork or bank
         records showing your interest in the seized property) to substantiate your petition.
      F. No Attorney Required:      You do not need an attomey to file a petition. You may, however, hire an attorney to represent you
         in filing a petition.
      G. Petition Granting Authority:     The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
          Office of the General Counsel. The ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset
          Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
      H.   Regulations for Petltion:     The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
           available at www.forfeiture.gov.




                                                                                                                                    Exhibit 1
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 EMPYREALENTERPRISESLLC                                                   Notice of Seizure


       I.    Penalties for Filing False or Frivolous Petitions:       A petition containing false information may subject the petitioner to
             criminal prosecution under 18 U.S.C. § 1001 and 18 U.S.C. § 1621.
       J.    Online Petition Exclusions:       If you cannot find the desired assets online, you must file your petition irl writing at the
             address listed above. For more dstail& rggarding what assets can be petitioned online, please see the Frequently Asked
             Questions at https:/Iwww.forfeiture.gov/FilingPetitionFAQs.htm.

 II.   TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A CLAIM.
       /( you do not file   a   claim, you will waive your right to contest the forfeiture   of the asset.      Additionally,   if no other clliims   are   filed, you may
       not be able to contest the forfeiture       of this asset in any other proceeding,     criminal   or civil.


       A.    To File a Claim: A claim must be filed to contest the forfeiture. A claim should be filed online or by mailing it via the U.S.
             Postal Service or a Commercial Oelivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
             1700, FOB, Los Angeles, CA 90024.
       B.    Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you mu~t file yo,ur claim by 11:59 PM
             EST on February 15, 2022. See 18 U.S.C. § 983(a)(2). A claim is deemed filed on the date receiveld by the agency at the
             address listed above.
       C.     Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
              other interest in the property and be made under oath, subject to penalty of pe~ury or meet the requi rements of an unsworn
              statement under penalty of perjury. See 18 U.S.C. § 983(a)(2)(C) and 28 U.S.C. § 1746.
       O.     Claim Forms: A claim need riot be made in any particular form, but a standard claim form ard the link to file the claim online
              are available at https:/Iwww.forfeiture.gov/FilingClaim.htm.        See 18 U.S.C. § 983(a)(2)(0).    If you wis;h to file a claim online
              for the assets referenced in the 1!I33e\ \\3\ of \h\~ letter, please use the Notice Letter 10 referenced abol/e.


       E.     Supporting Evidence:     Although not required, you may submit supporting evidence (for exanple, tijje paperwork or bank
              records showing your interest in the seized property) to substantiate your claim.
       F.     No Attorney Required:       You do not need an attorney to file a claim. You may, however, hir. an attomey to represent you in
              filing a claim.
       G.     When You File a Claim: A timely claim stops the administrative forfeiture proceeding. Theseizing agency forwards the
              timely claim to the U.S. Attomey's Office for further proceedings. You may also file a petition for rem iss ion or mitigation.

       H.     Penalties for Filing False or Frivolous Claims:      If you intentionally file a frivolous claim yOIJmay be subject to a civil fine.
              See 18 U.S.C. § 983(h). If you intentionally file a claim containing false information, you mal' be sublject to criminal
              prosecution. See 18 U.S.C. § 1001.
       I.     If No Claim Is Filed: Failure to file a claim by 11:59 PM EST on February 15, 2022 may re~ult in thle property being
              forfeited to the United States.
       J.     Online Claim Exclusions:        If you cannot find the desired assets online, you must file your caim in \Nriting and send to the
              address listed above. For more detaffs regardfng what assetl; can be claimed online, please see thEI Frequently Asked
              Questions at https:/Iwww.forfeiture.gov/FilingClaimFAQs.htm.

 m.    TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
       A.    Hardship Release: Upon the filing of a proper claim, a claimant may request release of the !eized property during the
             pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific ctndition:s. See 18 U.S.C. §
             983(f); 28 C.F.R. § 8.15.
        B.   To File Hardship Release:       The hardship request cannot be filed online and must be in writirg. ThE! claimant must
             establish the following:
                • Claimant has a possessory interest in the property;
                • Claimant has sufficient ties to the community to assure that the property will be available ~tthe tir ne of trial;
                     and
                • Govemment's continued possession will cause a substantial hardship to the claimant.
        C.   Regulations for Hardship:   A complete list of the hardship provisions can be reviewed at 18U.S.C. § 983(f) and 28 C.F.R. §
             8.15. Some assets are not eligible for release.




                                                                                                                                                              Exhibit 1
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                                                                                         u.s        partment of Justice

                                                                                         Federal Bureau of Investigation


                                                                                          Washington. DC   20535




 EMPYREAL ENTERPRISES LLC
 2925 S. Umatilla St.
 Englewood, CO 80110


                  NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                      ADMINISTRATIVE FORFEITURE PROCEEDINGS
                               SEIZED PROPERTY IDENTIFYING INFORMATION
             Notice Date:     January 11, 2022                 IAsset 10 Number:      22-FBI-0007B4

             Notice Letter 10:    328028 (use 10 when searching for assets during online filing)

             Description of Seized Property: $712,176.36 U.S. Currency located in the 2019 Ford Transit Van,
             VIN:1FTYE1YMOKKB80217 registered to EMPYREAL ENTERPRISES LLC and In possession of Dayler
             Quinones Navarro

             Seizure Date and Location:       The asset(s) referenced in this notice letter were seized on November 16, 2021
             by the FBI at Barstow, California.

             Forfeiture Authority:    The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
             following additional federal laws: 19 U.S.C. §§ 1602-1619, 18 U.S.C. § 983 and 28 C.ER. Parts 8 and 9.

 I.   THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS ALL
      OR PART OF THE PROPERTY FROM THE FORFEITURE.

      TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

      A.   What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition).        If you
           file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
      B.   To File a Petition:  A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial Delivery
           Service to the Federal Bureau of Investigation (FBI), Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite 1700,
           FOB, Los Angeles, CA 90024. It must be received no later than 11:59 PM EST thirty (30) days of your receipt of this Notice.
           See 28 C.F.R. Parts 8 and 9.
      C.   Requirements for Petition:    The petition must include a description of your interest in the property supported by
           documentation and any facts you believe justify the return of the property and be signed under oath, subject to the penalty
           of pe~ury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. § 1746.

      D. Petition Forms:     A petition need not be made in any particular form but a standard petition form and the link to file the
         petition online are available at https:/Iwww.forfeiture.gov/FiiingPetition.htm.    If you wish to file a petition online for the assets
         referenced in the asset list of this letter, please use the Notice Letter 10 referenced above.
      E. Supporting Evidence:     Although not required, you may submit supporting evidence (for example, title paperwork or bank
         records showing your interest in the seized property) to substantiate your petition.
      F. No Attorney Required:     You do not need an attorney to file a petition. You may, however, hire an attorney to represent you
           in filing a petition.
      G.    Petition Granting Authority:   The ruling official in administrative forfeiture cases is the Unit Chief, Legal Forfeiture Unit,
            Office of the General Counsel. The ruling official in judicial forfeiture cases Is the Chief, Money Laundering and Asset
            Recovery Section, Criminal Division, Department of Justice. See 28 C.F.R. § 9.1.
      H.   Regulations for Petition:     The Regulations goveming the petition process are set forth in 28 C.F.R. Part 9, and are




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           available at www.forfeiture.gov.
           Penalties for Filing False or Frivolous
           CrinbE!9secytion
                                                       Petitions:

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                                                                    A petition containing false information may subject the petitioner to
                                 under 18 U.S.C. § 1001 and 18 U.S.C. § 1621.




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 EMPYREAL ENTERPRISES            LLC                                Notice of Seizure


     J.        Online Petition Exclusions:       If you cannot find the desired assets online, you must file your petition in writing at the
               address listed above. For more details regarding what assets can be petitioned online, please see the Frequently Asked
               Questions at https:llwww.forfeiture.gov/FilingPetitionFAQs.htm.

 II. TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU PttUST FILE A C~IM.
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     A.         To File a Claim: A claim must be filed to contest the forfeiture. A claim should be filed online Or by mailing it via the U.S.
                Postal Service or a Commercial Delivery Service to the FBI, Attn: Forfeiture Paralegal Specialist, 11000 Wilshire Blvd. Suite
                1700, FOB, Los Angeles, CA 90024.
      B.        Time Umits:   A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by 11:59 PM
                EST on February 15, 2022. See 18 U.S.C. § 983(a)(2). A claim is deemed filed on the date re:eiv'ed by the agency at the
                address listed above.
      C.        Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your ownership or
                other interest in the property and be made under oath, subject to penalty of perjury or meet the ~eqlJirements of an unswom
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      E.        Supporting Evidence:     Although not required, you may submit supporting evidence (for exam~le, title paperwork or bank
                records showing your interest in the seized property) to substantiate your claim.
      F.        No Attorney Required:     You do not need an attomey to file a claim. You may, however, hire a"l attomey to represent you in
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                timely claim to the U.S. Attomey's Office for further proceedings. You may also file a petition fo' rernission or mitigation.

      H.         Penalties for Filing False or Frivolous Claims:      If you intentionally file a frivolous claim you l1Iay be subject to a civil fine.
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                 prosecution. See 18 U.S.C. § 1001.
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                 forfeited to the United States.
      J.         Online Claim Exclusions:        If you cannot find the desired assets online, you must file your clai., in writing and send to the
                 address listed ab'(]~'e. For ,rooreacta,i,ls regard,ing w,~at asset.'; can be claimed online, please SEet~Ie Frequently Asked
                 Questions at https:llwww.forfeiture.gov/FilingClaimFAQs.htm.

  1lI. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
       A.       Hardship Release: Upon the filing of a proper claim, a claimant may request release of the sei'ed property during the
                pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific con~itiolns. See 18 U.S.C. §
                983(f); 28 C.F.R. § 8.15.
       B.       To File Hardship Release:       The 11ardship request cannot be filed online and must be in writing.      TI1e claimant must
                establish the following:
                   .Claimant has ia possessory interest in the property;
                   • Claimant has sufficient ties to the community to assure that the property will be available at the t:ime of trial;
                       and
                   • Govemment's continued possession will cause a substantial hardship to the claimant.
          C.    Regulations for Hardship:   A complete list of the hardship provisions can be reviewed at 18 U S.C:. § 983(f) and 28 C.F.R. §
                8.15. Some assets are not eligible for release.




                                                                                                                                          Exhibit 1
